           Case 16-12369-mdc                         Doc 38           Filed 11/29/16 Entered 11/29/16 12:08:26                     Desc Main
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B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re       Theresa Blackwell                                                                                Case No.      16-12369
                                                                                   Debtor(s)                  Chapter       13

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,000.00
             Prior to the filing of this statement I have received                                        $                  1,690.00
             Balance Due                                                                                  $                  1,310.00

2.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Adversary proceedings and other contested bankruptcy matters; Motions for Relief by mortgage company or
               other creditors; Motions to Dismiss by Chapter 13 Trustee or other creditors; Audits by the U.S. Trustee's Office;
               More than one appearance at the Meeting of Creditors Hearing or at a Confirmation Hearing
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 29, 2016                                                             /s/ Bradly E. Allen, Esquire
     Date                                                                          Bradly E. Allen, Esquire 35053
                                                                                   Signature of Attorney
                                                                                   Bradly E. Allen
                                                                                   7711 Castor Avenue
                                                                                   Philadelphia, PA 19152
                                                                                   215-725-4242 Fax: 215-725-8288
                                                                                   bealaw@verizon.net
                                                                                   Name of law firm




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